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                        IN THE UNITED STATES DISTRICT COURT
9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11   BILL SCHEPLER and ADRIAN             )
                                          )   NO. CV 18-6043-GW-AFMx
12   GARCIA, Individually and On          )
     Behalf of All Others Similarly       )   ORDER TO FILE FOURTH
13   Situated,                            )   AMENDED COMPLAINT,
                                          )   MOTION FOR CLASS
14                      Plaintiffs,       )   CERTIFICATION, AND
                                          )   SUBSEQUENT BRIEFING
15              vs.                       )   SCHEDULE
                                          )
16   AMERICAN HONDA MOTOR                 )   Third Amended Complaint Filed:
     CO., INC.,                           )   August 9, 2019
17                                        )
                        Defendant.        )
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           [PROPOSED] ORDER TO FILE FOURTH AMENDED COMPLAINT, MOTION FOR CLASS
                     CERTIFICATION, AND SUBSEQUENT BRIEFING SCHEDULE
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1                                         ORDER
2          This Court, having considered the parties’ Stipulation to File Fourth
3    Amended Complaint, Motion for Class Certification, and Subsequent Briefing
4    Schedule, and finding good cause shown, HEREBY ORDERS the following
5    deadlines:
6                 December 8, 2020: Deadline for Plaintiffs to file their Fourth
7                 Amended Complaint and Motion for Class Certification;
8                 February 8, 2021: Deadline for AHM to file its Opposition to
9                 Plaintiffs’ Motion for Class Certification, Motion(s) to Strike Expert
10                Testimony (if any), and Motion to Dismiss and/or for Summary
11                Judgment;
12                March 22, 2021: Deadline for Plaintiffs to file Reply ISO Motion for
13                Class Certification, Opposition to AHM’s Motion(s) to Strike Expert
14                Testimony (if any), Opposition to AHM’s Motion to Dismiss and/or
15                for Summary Judgment, and Motion(s) to Strike Expert Testimony (if
16                any)
17                May 3, 2020: Deadline for AHM to file Reply ISO Motion(s) to
18                Strike Expert Testimony (if any), Reply ISO Motion to Dismiss
19                and/or for Summary Judgment, and Opposition to Plaintiffs’
20                Motion(s) to Strike Expert Testimony (if any);
21                May 31, 2020, Deadline for Plaintiffs to file Reply ISO of Motion(s)
22                to Strike (if any);
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           [PROPOSED] ORDER TO FILE FOURTH AMENDED COMPLAINT, MOTION FOR CLASS
                   CERTIFICATION, AND SUBSEQUENT BRIEFING SCHEDULE -2-
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1               June 14, 2021 at 8:30 a.m.: Hearing on Plaintiffs’ Motion for Class
2               Certification, AHM’s Motion to Dismiss and/or for Summary
3               Judgment, and the parties’ Motions to Strike Expert Testimony (if
4               any)
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6    Dated: October 15, 2020                   _________________________
7                                              The Honorable George H. Wu
                                               United States District Judge
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           [PROPOSED] ORDER TO FILE FOURTH AMENDED COMPLAINT, MOTION FOR CLASS
                   CERTIFICATION, AND SUBSEQUENT BRIEFING SCHEDULE -3-
